 Case 7:19-cv-07874-KMK-PED Document 29-1 Filed 01/12/21 Page 1 ot 1
   Case 7:19-cv-07874-KMK-PED Document 30 Filed 01/12/21 Page 1 of 7
UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF NEW YORK

EUGENE SCALIA, Secretary,
United States Department of Labor,

                              Plaintiff,

                 V.                                          Civil Action File
                                                             No. 7:19-CV-07874-KMK
PROFESSIONAL FIDUCIARY SERVICES, LLC
and the CONTRACTORS REGISTER
EMPLOYEE STOCK OWNERSHIP PLAN,

                              Defendants.



               ~~               CONSENT ORDER AND JUDGMENT

       Plaintiff Eugene Scalia, Secretary of the United States Department of Labor

("Secretary"), and defendant Professional Fiduciary Services, LLC ("PFS"), by and

through their respective attorneys, have negotiated an agreement to settle all civil claims

and issues between them in this action, and each consents to the entry of this Consent Order

by the Court as the sole and complete memorialization of the terms of such agreement.

        1.     This action was filed by the Secretary on August 22, 2019 pursuant to his

authority under Title I of the Employee Retirement Income Security Act of 197 4

("ERISA"), 29 U.S.C. § 1001, et seq., as amended. (Dkt. Entry 1).

       2.      The Secretary has agreed to settle this matter because PFS has established

a financial inability to pay the losses associated with the allegations in the Secretary's

Complaint.

        3.     The Secretary and PFS stipulate that this Court has jurisdiction over the

Secretary and PFS in this action.
 Case 7:19-cv-07874-KMK-PED Document 29-1 Filed 01112121       Page Lor t
   Case 7:19-cv-07874-KMK-PED Document 30 Filed 01/12/21 Page 2 of 7
      4.    John Michael Maier, as the owner of PFS, submits to the Court's

jurisdiction for the purposes of this Consent Judgment.

       5.      PFS agrees to compensate the Contractors Register Employee Stock

Ownership Plan ("the Contractors Register ESOP") monetarily in accordance with this

Consent Order.

       6.      PFS and John Michael Maier, as the owner of PFS, agree to implement and

maintain all of the reforms described in this Consent Order, and to ensure that their

practices and procedures are in full compliance with ERISA.

       7.      The Secretary and PFS wish to settle on the terms and conditions hereafter

set forth and stipulate and agree to the entry of this Consent Order as a full and complete

resolution of all of the civil claims and issues arising between them in this action without

trial or adjudication of any issue of fact or law raised in the Complaint.

       Accordingly, it is ORDERED, ADJUDGED, AND DECREED that:

                                    I. JURISDICTION

       The Court has jurisdiction over the parties to this Consent Order and subject matter

of this action and is empowered to provide the relief herein.

                                II. MONETARY RELIEF

        A.       PFS agrees to pay to the Contractors Register ESOP the sum of$750,000.00

(the "Settlement Amount") over a three-year period to fully settle the Secretary's claims

against PFS with respect to the Contractors Register ESOP as described below:

                 1.     The first installment of 40% of the Settlement Amount will be paid

        within thirty (30) days of the Court's entry of this Consent Order.

                 2.     The second installment of 40% of the Settlement Amount will be

        paid on or before January 5, 2022.




                                              2
 Case 7:19-cv-07874-KMK-PED Document 29-1 Filed 01/12/21 Page 3 ot /
   Case 7:19-cv-07874-KMK-PED Document 30 Filed 01/12/21 Page 3 of 7
             3.    The third installment of 20% of the Settlement Amount will be aid

       on or before January 15, 2023.

       B.      PFS is hereby assessed a penalty under ERISA § 502(1), 29 U.S.C.

§ 1132(1), in the amount of $150,000, equal to 20% of the Settlement Amount. PFS has

petitioned for a waiver of said penalty under 29 C.F.R. § 2570.85(a)(2), which the

Secretary has granted based upon his determination that PFS would not be able to restore

losses to the ESOP without severe financial hardship unless such waiver is granted.

       C.     PFS will provide to the Secretary proof of payment of the Settlement

Amount within ten (10) days of payment.          Such proof will include wire transfer

confirmations of the payments.

       D.     PFS will provide to the Secretary a copy of its IRS Form 1120S for tax years

2020, 2021, and 2022 within 30 days of their filing to Jacobello.Peter@dol.gov and

Singer.Jeffrey@dol.gov. If PFS's Total Income for each year, as set forth on line 6 of the

1120S form, exceeds the Total Income reported in 2019 by more than 30%, PFS shall pay

20% of the difference (the "Additional Recovery Amount") to the ESOP within 30 days.

       E.     In the event that PFS pays any Additional Recovery Amount, pursuant to

provision D., the Secretary shall assess a penalty under ERJSA § 502(1), 29 U .S.C.

§ 1132(1), of 20% of the Additional Recovery Amount (the "§ 502(1) Penalty").

       F.      Any§ 502(1) Penalty payments shall be made by check made payable to the

United States Department of Labor and referencing EBSA case number 30-105755(48),

sent to the following addresses with 14 days of the Applicable Recovery Amount being

due:




                                            3
 Case 7:19-cv-07874-KMK-PED Document 29-1 Filed 01/12/21 Page 4 ot 7
  Case 7:19-cv-07874-KMK-PED Document 30 Filed 01/12/21 Page 4 of 7
     Standard (Regular U.S. Mail) Remittance Address:

       ERISA Civil Penalty
       P.O. Box 6200-36
       Portland, OR 97228-6200

       or

       Express Mail or Commercial Overnight Delivery Address:

       U.S . Bank
       Attn: ERISA Civil Penalty #6200-36
       17650 NE Sandy Blvd.
       PD-OR-ClGL
       Portland, OR 97230

       G.       Any proof provided under this paragraph II will be sent to the Secretary's

representative at the following address:

               Thomas Licetti
               Regional Director New York Regional Office
               Employee Benefits Security Administration
               U.S. Department of Labor
               201 Varick Street, Room 746
               New York, NY 10014
               Email: Jacobello.Peter@dol.gov; Singer.Jeffrey@dol.gov

                            III.   PROSPECTIVE RELIEF
       A.      PFS and John Michael Maier will not enter into an engagement agreement

to serve as the trustee of an employee stock ownership plan ("ESOP") subject to the

requirements of Title I ofERISA for the purpose of such ESOP's initial purchase ofnon-

publicly traded employer stock.

       B.      PFS and John Michael Maier, as the owner of PFS, will not enter into any

agreement with any ERISA-covered plan, or with any company owned in whole or in part

by a plan, that requires the Plan or company to indemnify PFS or advance to PFS legal fees

and associated costs related to a breach of fiduciary claim against PFS.




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 Case 7:19-cv-07874-KMK-PED Document 29-1 Filed 01/lLJ:ll 1-1age                      ~ OT   t
   Case 7:19-cv-07874-KMK-PED Document 30 Filed 01/12/21 Page 5 of 7
          C.

owned in whole or in part by a plan, any indemnification payments or advance payment of

legal fees and associated costs related to a breach of fiduciary claim against PFS.

          D.   Paragraph 5 of the Agreement for Services to Contractors Register, Inc.

Employee Stock Ownership Plan and Trust is specifically voided and shall have no legal

effect.

                                     IV. RELEASES
          A.   This Consent Order provides full, final, and complete judicial resolution of

all of the civil claims alleged in the Secretary's Complaint in this action against PFS. The

Secretary hereby releases all actions, claims, and demands against PFS that arise out of, or

relate to, the transactions and occurrences referred to in the Secretary's Complaint, and all

such claims are hereby released, settled and dismissed with prejudice. No claims of any

type against any other parties are released or dismissed.

          B.   PFS and its agents, representatives, assigns, and successors in interest, do

hereby release the Secretary and his officers, agents, attorneys, employees, and

representatives, both in their individual and governmental capacities, from all actions,

claims and demands of whatsoever nature, including those arising under the Equal Access

to Justice Act or any statute, rule, or regulation, that relate in any manner to the

investigation, filing, prosecution, and maintenance of this matter, the matters covered by

the Consent Order, and any other proceeding or investigation incident thereto.

          C.   The Secretary's claims against any other persons are expressly preserved.

Nothing in this Consent Order shall preclude the Secretary from initiating or continuing

any audit or investigation, or from pursuing any claims or actions, against any entities or

persons, other than PFS, relating to any BRISA-covered Plan. Nothing in this Consent




                                              5
 Case 7:19-cv-07874-KMK-PED Document 29-1 Filed 01/12/21 Page 6 of 7
  Case 7:19-cv-07874-KMK-PED Document 30 Filed 01/12/21 Page 6 of 7
Order resolves an claims that have been or may be asserted against PFS by an Plan or

by any other person.

       D.       The parties each shall bear their own costs, expenses, and attorneys' fees

in connection with this action.

                         V. RETENTION OF JURISDICTION

       This Court shall retain jurisdiction over the Secretary, PFS, and John Michael Maier

for the purpose of enforcing and/or interpreting the terms of this Consent Order.

                                  VI. PARTIES BOUND

       By entering into this Consent Order, the parties hereto represent that they have

been informed by counsel of the effect and purpose of this Consent Order and agree to be

bound by its terms. Any attorney signing each expressly represents that he or she is

authorized to execute this Consent Order on behalf of the party represented and that the

attorney has fully disclosed any conflicts of interest relating to their representation for

purposes of executing this Consent Order. This Consent Order is not binding on any

governmental agency other than the United States Department of Labor.

                             VII. MULTIPLE ORIGINALS

     This Consent Order may be executed in counterparts, each of which shall be deemed

to be an original, but all of which, taken together, shall constitute one and the same

instrument. The date of execution of this Consent Order is the date on which it is executed

by the Court.




                                              6
 Case 7:19-cv-07874-KMK-PED Document 29-1 Filed 01/12/21 Page 7 ot I
   Case 7:19-cv-07874-KMK-PED Document 30 Filed 01/12/21 Page 7 of 7
                       VllI. ENTRY OF JUDGMENT

       The Court finds that there is no just reason to delay the entry of this Consent Order

and expressly directs the entry thereof as a final Order and Judgment.




UNITED STATES DISTRICT COURT JUDGE
                                  1 /12/21
FOR THE SECRETARY:

KATES. O'SCANNLAIN
Solicitor of Labor

JEFFREY S. ROGOFF
Regional Solicitor

~s~
MATTHEWM. SULLNAN
ROLANDON. VALDEZ
STACY M. GOLDBERG
U.S. Department of Labor
201 Varick Street, Room 983
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Valdez.Rolando@dol.gov
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FOR PROFESSIONAL FIDUCIARY SERVICES, LLC:


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